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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                 WEST PALM BEACH DIVISION

                                Case No. 18-cv-81104-BB (BLOOM)

 GREENWAY NUTRIENTS, INC., a Colorado corp.

                 Plaintiff,
 v.

 DAVID SELAKOVIC, an individual; STEVEN
 BLACKBURN, an individual; FULLFILMENT
 SOLUTIONS SERVICES, INC., a Fla. corp.; NEW
 EPIC MEDIA, LLC, a Fla. limited liability company;
 VEGALAB S.A., a Swiss company; VEGALAB
 LLC, a Delaware limited liability company;
 VEGALAB INC., f/k/a HPC ACQUISITIONS, INC.;
 THE RYAN LAW GROUP, LLC; JAMES D. RYAN;
 MICHAEL J. RYAN; SUPREME GROWERS, LLC;
 ECOWIN CO., LTD.; and DOE ENTITIES 1
 THROUGH 10, INCLUSIVE

                 Defendants.
                                                             /

      RYAN DEFENDANTS’ RESPONSE IN OPPOSITION TO [DOC.96] PLAINTIFF’S
        COUNSEL’S MOTION TO WITHDRAW AND MEMORANDUM OF LAW

         Defendants, RYAN LAW GROUP PLLC, MICHAEL J. RYAN and, JAMES D. RYAN
 (collectively, RYAN defendants), respond in opposition to the motion to withdraw of Plaintiff’s
 counsel (Doc. 96), stating:
                                         Memorandum of Law
         The RYAN defendants would be unduly and unjustifiably prejudiced by the withdrawal
 of Plaintiff’s counsel under the circumstances. This is the seventh known case in which the
 Plaintiff has acted to combat perceived wrongs arising out of the same facts and circumstances
 forming the basis of this litigation.
         In two of those, the 2013 Colorado Action and the 2017 Florida Action, (See: Doc. 25 for
 the list of prior related cases, and Doc. 51 for the order judicially noticing them), counsel for
 Plaintiff GREENWAY successfully withdrew, sending the cases on a path toward involuntary

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 dismissal without prejudice, the ultimate ends for which were dependent on Plaintiff’s effort or
 ability to timely find new counsel. The RYAN defendants are justifiably concerned that
 GREENWAY will once again act dilatorily or be unable to find replacement counsel in a timely
 manner, causing this case to conclude by way of an involuntary dismissal without prejudice.
         An involuntary dismissal without prejudice is prejudicial to the RYAN defendants in
 several ways:
     •   First, GREENWAY has, on multiple occasions, demonstrated a willingness to revise its
         version of the facts so that it can renew its vexatious efforts. History teaches us the
         Plaintiff will use the issues it raised here to assert claims in the future.
     •   Second, the RYAN defendants have expended substantial time and effort educating
         Plaintiff’s counsel with significant informal discovery. If Plaintiff manages to secure new
         counsel but does not do so until after present counsel has been allowed to exit this case,
         the RYAN defendants will have to repeat their efforts.
     •   Third, unlike a voluntary dismissal, an involuntary dismissal without prejudice imposes
         an unnecessary and potentially impossible hurdle to the RYAN defendants’ contemplated
         claim for malicious prosecution 1, in terms of the bona fide termination element of the
         cause of action. Compare: Cohen v. Corwin, 980 So. 2d 1153, 1156 (Fla. 4th DCA 2008)
         (A voluntary dismissal qualifies as a bonafide termination of a prior action depending
         upon the reasons and circumstances underlying the dismissal).
         Denial of the Motion to Withdraw is less prejudicial to GREENWAY and its counsel
 than the prejudice the Ryan defendants will experience if the Motion is granted. Plaintiff and its
 counsel will have to do more work or voluntarily dismiss— either one of which is fair in light of
 the considerable true, factual information available to them before this case was filed, and that
 Plaintiff’s counsel either neglected to consider or outright ignored. Although GREENWAY
 counsel may be uncomfortable voluntarily dismissing their client’s claim without consent,



 1
   Although Rule 11 can provide some protection against malicious claims it rarely provides full
 relief for the damages such conduct can cause and the parsing of fees as to all of the various
 parties is not simple. It does not provide a comprehensive remedy for conduct as egregious as is
 present in this matter.

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 counsel are prohibited from maintaining claims they know are unsupported by fact and law, and
 Plaintiff’s counsel knew this when they initiated this action.
           As an alternative to the relief requested, existing deadlines could be extended and
 Plaintiff could begin its search for new counsel now. If its efforts are successful, current counsel
 would be relieved of further obligation by filing a substitution of counsel— if GREENWAY is
 truly desirous of continuing with these claims. This alternative also places at least some of the
 burden of bringing any new counsel up to speed on the Plaintiff’s present legal team instead of
 burdening the RYAN defendants with the job. If after 30 or 60 days Plaintiff is unable or
 unwilling to find new counsel, present counsel could resolve their predicament by then filing a
 voluntary dismissal.
           The interests of judicial economy are also served by denying the Motion. There is
 significant likelihood another court will be forced to repeat at least some of the efforts made by
 prior courts and this court to become familiar with the long history and issues. In the instant
 case, the RYAN defendants began sending Plaintiff’s counsel informative correspondence on the
 day they were served with the Complaint 2. This informal discovery was intended to alert
 Plaintiff’s counsel that the RYAN defendants believed Plaintiff’s counsel failed to evaluate the
 underlying facts before filing suit, and to show them where reasonable efforts would have
 revealed the sham nature of their case. To the extent the RYAN defendants’ belief is correct, it is
 not unjust that Plaintiff’s counsel should now be required to shoulder a short term burden so that
 a future court may not have to.
           The unique circumstances today resulting from the extensive litigation history churned by
 Plaintiff justify the Court’s denial of the Motion without prejudice so that the case can either be
 voluntarily dismissed or adjudicated on the merits. Although the Ryan Defendants accept
 motions of this type are, and should be, routinely granted, denying the Motion in this case is the
 most likely path to a just and final result.
           The Motion is guarded as to the grounds for withdrawal. Accordingly, it is not beyond
 the pale to consider that there is a substantive basis underlying the Motion, i.e. that
 GREENWAY is not providing supporting evidence because it never existed. If Pierce

 2
     This was also the day they first learned the case existed.

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 Bainbridge and Ward Damon have concluded what all defendants have asserted since the
 outset— that the entirety of this case is a frivolous and malicious effort to hurt innocent parties—
 then Pierce Bainbridge and Ward Damon have the ability to do justice and to help their client to
 avoid additional liability by voluntarily dismissing the action.
         WHEREFORE, the RYAN defendants respectfully request that this Court deny the
 Motion because the withdrawal will cause unnecessary prejudice and risk to the RYAN
 defendants.
                                       Respectfully submitted,

 Dated: March 29, 2019                       /S/ JAMES D. RYAN
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                                               COUNSEL FOR RYAN DEFENDANTS

                                      CERTIFICATE OF SERVICE

        I certify that on March 29, 2019, I electronically filed the foregoing with the Clerk of the
 Court using the CM/ECF system which will send a notice of electronic filing to all counsel of
 record as provided on the list below.
                                                      /S/ JAMES D. RYAN
                                                          JAMES D. RYAN, ESQ.

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